Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 1 of 10



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


                          Case No: 19-80468-CIV-ROSENBERG/REINHART

  DAVID RAMNARINE,

                                  Plaintiff,

  v.

  ECHERD HOSPITALITY, INC.,

                          Defendant.
  _____________________________________/

                             STANDING DISCOVERY ORDER FOR
                            MAGISTRATE JUDGE BRUCE REINHART

            The following procedures are designed to help the parties and the Court work together to

  accomplish civil discovery without undue delay and unnecessary expense.

       I.      GENERAL DISCOVERY PRINCIPLES

             A. RULE 26(b)(1) - Relevance and Proportionality

             Federal Rule of Civil Procedure 26(b)(1), as amended on December 1, 2015, defines

   the scope of permissible discovery:

            Unless otherwise limited by court order, the scope of discovery is as follows:

            Parties may obtain discovery regarding any nonprivileged matter that is relevant

            to any party’s claim or defense and proportional to the needs of the case,

            considering the importance of the issues at stake in the action, the amount in

            controversy, the parties’ relative access to relevant information, the parties’

            resources, the importance of the discovery in resolving the issues, and whether the

            burden or expense of the proposed discovery outweighs its likely benefit.
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 2 of 10



         Information within the scope of discovery need not be admissible in evidence to

         be discoverable.

   Therefore, an objection that a discovery request is not reasonably calculated to lead to

   admissible evidence is based upon an outdated discovery standard. Such an objection is

   meaningless and will be found meritless by this Court. An objection based on relevance or

   proportionality must include a specific explanation describing why the request lacks relevance

   and/or why the requested discovery is disproportionate in light of the factors listed in Rule

   26(b)(1).

          B. Rule 26(c) – Protective Orders

          Federal Rule of Civil Procedure 26(c) permits the Court to enter a protective order “to

   protect a party or person from annoyance, embarrassment, oppression, or undue burden or

   expense.” A motion seeking relief under Rule 26(c) must include a specific explanation,

   supported by facts, demonstrating how complying with the discovery request would cause

   annoyance, embarrassment, oppression, or undue burden or cost. The Court will reject a

   conclusory unsupported statement that Rule 26(c) relief is warranted.

          C. Non-Waiver

           Discovery is a dynamic process. What is relevant or proportionate or cumulative or

   unduly burdensome can change as a case moves forward. The Court recognizes that a party

   may be unwilling to compromise its position on a particular discovery request because of

   concern that the concession will be deemed to waive a future objection or a future demand for

   related discovery. To eliminate this concern, the Court evaluates all discovery requests and

   responses individually. Therefore, by responding, in whole or in part, to a discovery request, a

   party does not waive any objection to a future request. Likewise, by agreeing to limit a


                                            Page 2 of 10
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 3 of 10



   discovery demand, a party does not waive its right to seek additional discovery in the future.

   Parties need not serve a response or objection that specifically reserves their rights or

   disavows a waiver.

            D. Rule 26(g) Certification

            Federal Rule of Civil Procedure 26(g) requires, a lawyer or party requesting discovery,

   responding to a discovery request, or objecting to a discovery request to sign the relevant

   pleading. The signature “certifies that to the best of the person’s knowledge, information, and

   belief formed after a reasonable inquiry” that (1) any response to a discovery request is

   complete and correct and (2) any request, response, or objection is not for an improper

   purpose, such as delay or needless increase in litigation cost or otherwise unreasonable

   “considering the needs of the case, prior discovery in the case, the amount in controversy, and

   the importance of the issues at stake in the action.” Rule 26(g) imposes an affirmative duty

   on counsel to conduct a reasonable inquiry prior to promulgating discovery or objecting to

   discovery and to conform discovery to what is reasonably necessary to the case at hand. The

   procedures outlined in this Order are designed to help counsel ensure that their Rule 26(g)

   certifications are accurate, and to provide the Court with a complete and accurate record to

   assess discovery behavior, including requests for sanctions based on discovery violations.

     II.        DISCOVERY OBJECTIONS

           A.   Boilerplate or General Objections

            The parties shall not make nonspecific, boilerplate objections. See, e.g., Local Rule

   26.1(e)(2)(A) (“Where an objection is made to any interrogatory or subpart thereof or to any

   production request under Federal Rule of Civil Procedure 34, the objection shall state with

   specificity all grounds.”). The parties also shall not make General Objections that are not tied

                                             Page 3 of 10
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 4 of 10



   to a particular discovery request. Such objections are meaningless and will be found meritless

   by this Court.

         B. Vague, Overly Broad, and Unduly Burdensome

          Objections that state that a discovery request is “vague, overly broad, or unduly

   burdensome” are, standing alone, meaningless, and will be found meritless by this Court. If a

   party believes that a request or a term is vague, that party shall attempt to obtain clarification

   from opposing counsel prior to objecting on vagueness grounds.

          An objection that a discovery request is “overbroad” is ambiguous. If the objecting

   party asserts that the request seeks materials that are not relevant, the objection should say so.

   Alternatively, if the objector asserts that the request seeks materials that are relevant but

   excessive or cumulative, the objection should state that the request is disproportionate.

          If a party believes a discovery request seeks irrelevant information, is disproportionate,

   or is unduly burdensome, that party shall confer in good faith with opposing counsel to narrow

   the scope of the request before asserting these objections. The objecting party nevertheless

   shall respond as to those matters for which the scope or burden is not contested. For example,

   if there is an objection based upon the scope of the request, such as time frame or geographic

   location, discovery should be provided as to the time period or locations that are not disputed.

   Thus, if discovery is sought nationwide for a ten-year period, and the responding party objects

   on the grounds that only a five-year period limited to activities in the State of Florida is

   appropriate, the responding party shall provide responsive discovery falling within the five-

   year period as to the State of Florida.

          A party objecting on any of these grounds must explain the specific and particular way

   in which a request is vague, seeks irrelevant information, is disproportionate, or is unduly

   burdensome. See Fed. R. Civ. P. 33 (b)(4) and 34 (b)(2)(B); See also Democratic Republic of

                                             Page 4 of 10
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 5 of 10



   Congo v. Air Capital Grp., LLC, No. 12-CIV-20607, 2018 WL 324976, at *3 (S.D. Fla. Jan. 8,

   2018) (citing Sallah v. Worldwide Clearing LLC, 855 F. Supp. 2d 1364, 1376 (S.D. Fla. 2012)

   (“A party objecting on these grounds must explain the specific and particular way in which a

   request is vague, overly broad, or unduly burdensome. In addition, claims of undue burden

   should be supported by a statement (generally an affidavit) with specific information

   demonstrating how the request is overly burdensome.”)).

         C. Formulaic Objections Followed by an Answer

          A party shall not recite a formulaic objection followed by an answer to the request. It

   has become common practice for a party to object to a discovery request, and then state that

   "notwithstanding the above," the party will respond to the discovery request, subject to or

   without waiving such objection. Such a response preserves nothing. Further, it leaves the

   requesting party uncertain as to whether the discovery request (as propounded) has actually

   been fully answered, whether the response relates only to the request as unilaterally narrowed

   by the responding party, and whether the responding party is withholding any responsive

   materials.

          The proper practice is to state (1) whether documents are being provided in response to

   the request and identify those documents by sequential number or category, and (2) whether

   any responsive documents are being withheld, and if so the specific legal basis for that

   objection. See Fed. R. Civ. P. 34(b)(2)(C) (objection must “state whether any responsive

   materials are being withheld on the basis of that objection.”); Local Rule 26.1(e)(6) (“Each

   page of any document produced in a non-electronic format must be individually identified by a

   sequential number that will allow the document to be identified but that does not impair

   review of the document.”). Samples of proper objections include:



                                           Page 5 of 10
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 6 of 10



                Defendant is providing documents marked as Defense 1 – 250, as well as a

          USB drive containing emails for the following custodians in native format

          ______. Defendant has identified other documents which are responsive to the

          request as propounded, but Defendant asserts that those additional documents are

          irrelevant to the claims and defenses in this matter because _____.

                Plaintiff is providing documents marked as Plaintiff 1 – 100. Plaintiff has

          identified other documents which are responsive to the request as propounded,

          but Plaintiff asserts that production of those materials would be disproportionate

          to the needs of the case because the burden and expense of the proposed

          discovery outweighs its likely benefit for the following reasons: ______.

         D. Production At An Indeterminate Time

          It has also become a common practice to respond to Requests for Production by saying

   that the party will either produce responsive materials, or make those materials available for

   inspection, at an indeterminate future date. Such a response is not a response and only serves to

   delay the discovery process.     Federal Rule of Civil Procedure 34(b)(2)(B) states that a

   production must be “completed no later than the time for inspection specified in the request or

   another reasonable time specified in the response.” Hence, unless all unobjectionable materials

   are being produced contemporaneously with the written response, the response must specify a

   date by which production will be completed; the respondent may adopt the date proposed in the

   request or may propose its own reasonable time, after consultation with opposing counsel.

          The Court strongly encourages parties to engage in rolling production of documents. If

   a rolling production is to occur, the parties shall confer about a production schedule, including

   the order in which categories of documents will be produced, and a good faith estimate of the

   date by which production will be completed.

                                            Page 6 of 10
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 7 of 10



             Whether by rolling production or otherwise, a final production date more than 30 days

   after the response deadline (i.e., generally 60 days after the request is served) is presumptively

   unreasonable under Rule 34(b)(2)(B). That being said, the parties will be in the best position to

   assess the timing of discovery in a particular case. Therefore, the parties may agree to a longer

   period for production, without leave of Court. In the absence of agreement among the parties,

   if the production will not be completed within 30 days of the response deadline, a motion for

   enlargement of time should be filed by the responding party. The motion shall include a good

   cause explanation for why production cannot be completed within that time period, and a

   proposed schedule for completing the production. The opposing party shall respond within 72

   hours.

            E. Objections Based upon Privilege

             Generalized objections asserting attorney-client privilege or work product doctrine also

   do not comply with the Local Rules. Local Rule 26.1(e)(2)(B) requires that objections based

   upon privilege identify the specific nature of the privilege being asserted, as well as, inter alia,

   the nature and subject matter of the communication at issue and the sender and receiver of the

   communication and their relationship to each other. The parties are instructed to review Local

   Rule 26.1(e)(2)(B) and (C). If a general objection of privilege is made without attaching a

   proper privilege log, the objection of privilege may be deemed waived. The production of

   non-privileged materials should not be delayed while a party is preparing a privilege log.

            F. Instructions to the Responding Party

             A party propounding discovery cannot impose legal obligations on the respondent

   through the use of Instructions. Discovery is governed by the rules of Court, which cannot be

   unilaterally supplemented by a party. Any Instruction that purports to impose a duty not

   otherwise mandated by the Federal Rules of Civil Procedure or the Local Rules of this Court

                                              Page 7 of 10
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 8 of 10



   has no legal effect and only serves to waste the time and resources of the Court and the parties.

   III.   PROCEDURES FOR DISCOVERY DISPUTES

          A. Pre-hearing Communication. If a discovery dispute arises, counsel must

   actually speak to one another (in person or via telephone) and engage in reasonable

   compromise in a genuine effort to resolve their discovery disputes before seeking Court

   intervention.

          B.   Hearing Procedures. If, after conferring, the parties are unable to resolve

   their discovery disputes without Court intervention, Magistrate Judge Reinhart will set the

   matter for a hearing pursuant to the following procedures. No discovery motions shall be filed

   until after the parties have engaged in this process. If the dispute is not resolved at the

   discovery hearing, the Court will consider authorizing the filing of an appropriate discovery

   motion, which will then implicate the sanctions provisions of Federal Rule of Civil

   Procedure 37(a)(5).

          The moving party may request a discovery hearing by sending an email to

   reinhart@flsd.uscourts.gov. The subject line of the email shall be “Request for Discovery

   Hearing”. The email shall provide the Court with two afternoons in the following seven

   business days where all parties are available. The email shall state the amount of time that

   the parties anticipate needing for the hearing. The email shall be copied to all counsel, and

   shall certify that the moving party has conferred with opposing counsel and confirmed

   opposing counsel’s availability on the proposed dates. The Court will enter an order setting

   the hearing. Counsel are required to appear in person at the discovery hearing unless

   otherwise excused by the Court.

          At least 48 hours prior to the scheduled hearing, the parties shall file a joint discovery


                                             Page 8 of 10
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 9 of 10



   memorandum of five pages or less (1) specifying the substance of the discovery matter to be

   heard, (2) certifying that the parties have complied with the pre-hearing communication

   requirement set forth above, and (3) attaching a copy of all source materials relevant to the

   discovery dispute (e.g., if the dispute concerns interrogatories, the interrogatories at issue and

   any responses thereto shall be provided to Chambers). A sample format for the joint discovery

   memorandum is attached as Appendix 1 to this Order.

           C.    Encouraging Participation by Less-Experienced Lawyers: Ordinarily, only

   one lawyer for each party may argue at the discovery hearing. Nevertheless, the Court has a

   strong commitment to supporting the development of our next generation of lawyers. The

   Court encourages parties and senior attorneys to allow less-experienced practitioners the

   opportunity to argue in court. A party should advise the Court prior to the beginning of the

   hearing if a lawyer of 5 or fewer years of experience will be arguing the matter. In that event,

   the Court will allow multiple lawyers to argue on behalf of that party

         DONE and ORDERED in Chambers at West Palm Beach, Florida, this 22nd day of

  April, 2019.




                                                               BRUCE REINHART
                                                               United States Magistrate Judge




                                             Page 9 of 10
Case 9:19-cv-80468-RLR Document 6 Entered on FLSD Docket 04/22/2019 Page 10 of 10



                                            APPENDIX 1

         The parties certify that they have complied with the requirements for pre-hearing

  consultation contained in the Court’s Standing Discovery Order. Despite good faith efforts to

  resolve their differences, the following issues require resolution by the Court

         1. The parties dispute the appropriate time frame for Plaintiff’s Interrogatory Nos. 1, 5,

             6-9. Plaintiff asserts that the time frame should be limited to ____ because [legal basis

             for position, such as relevance, undue burden, disproportionate]. Defendant believes

             the proper time frame is _____.

         2. Defendant objects to Request for Production 3. Defendant has produced ____ in

             response to the Request, believes that additional documents exist, but objects to the

             production of those documents because _____. Plaintiff believes that all the materials

             sought by the Requests are [relevant/proportional/not unduly burdensome] because

             ______.

         3. Plaintiff objects to Request for Production 9, which calls for production of voluminous

             documents/electronic communications.         Plaintiff asserts that it will be unduly

             burdensome and costly to conduct searches to identify if responsive documents exist.

             Defendant asserts that, to minimize cost and burden, it has proposed to limit the time

             frame of the request and has offered search terms as follows:_____.

         4. Plaintiff objects to Interrogatory 7 because it would require disclosure of

             communications and materials protected by the attorney-client/work product privilege.

             Defendant asserts that no privilege exists because ____.

  Copies of the relevant discovery requests and related pleadings are attached, as follows:

         1. Plaintiff’s First Interrogatories and Defendant’s Response and Objections

         2. Defendant’s Request for Production and Plaintiff’s Objections

                                             Page 10 of 10
